
60 N.Y.2d 785 (1983)
In the Matter of David R. Wesser, Appellant,
v.
State of New York Department of Health, State Board of Professional Medical Conduct, Respondent.
Court of Appeals of the State of New York.
Decided October 25, 1983.
Deyan Ranko Brashich for appellant.
Robert Abrams, Attorney-General (Mary Fisher Bernet of counsel), for respondent.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, MEYER, SIMONS and KAYE.
On review of submissions pursuant to rule 500.2 (b) of the Rules of the Court of Appeals (22 NYCRR 500.2 [g]), order affirmed, with costs. The Appellate Division correctly held that section 303 of the State Administrative Procedure Act is applicable and that it precludes the petitioner from seeking judicial review at this time.
